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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS



IN RE:                                                              In Proceedings
                                                                    Under Chapter 7
DAVID ANTHONY MILLER,

                                                                    Case No. 19-31377
                Debtor(s).

                                             ORDER

         This matter is before the Court sua sponte. On February 5, 2020, the Court entered an

order closing the above-captioned bankruptcy case. That order was entered in error.

         Accordingly, IT IS ORDERED that order closing this case, entered on February 5, 2020, is

VACATED.



ENTERED: April 8, 2020
                                              /s/ Laura K. Grandy
                                       UNITED STATES BANKRUPTCY JUDGE-12
